Case 1:15-cr-00017-MAC-ZJH           Document 122       Filed 08/18/15    Page 1 of 2 PageID #:
                                            342




 UNITED STATES DISTRICT COURT                              EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                        §
                                                 §
 versus                                          §          CASE NO. 1:15-CR-17 (3)
                                                 §
 STASHA FRANCELL ANDERSON                        §



          ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

          The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

 Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal

 Rule of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty

 Plea Before the United States Magistrate Judge. The magistrate judge recommended that the court

 accept the Defendant’s guilty plea. He further recommended that the court adjudge the Defendant

 guilty on Count One of the Information filed against the Defendant.

          The parties have not objected to the magistrate judge’s findings. The court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge

 are ADOPTED. The court accepts the Defendant’s pleas but defers acceptance of the plea

 agreement until after review of the presentence report.      It is further ORDERED that, in

 accordance with the Defendant’s guilty plea and the magistrate judge’s findings and
Case 1:15-cr-00017-MAC-ZJH          Document 122       Filed 08/18/15     Page 2 of 2 PageID #:
                                           343



 recommendation, the Defendant, Stasha Francell Anderson, is adjudged guilty as to Count One

 of the Information
            .       charging a violation under Title 26, United States Code, Section 7206(2).
            SIGNED at Beaumont, Texas, this 7th day of September, 2004.
           SIGNED at Beaumont, Texas, this 18th day of August, 2015.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE




                                                2
